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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                               MIAMI DIVISION
                          CIVIL CASE NO. 1:24-cv-22523

  KENNY ORTEGA
      Plaintiff,

  v.
                                                      JURY TRIAL DEMANDED

  MIAMI-DADE COUNTY, a political
  subdivision in the State of Florida, and
   JOSEPH DIAZ in his individual capacity,
        Defendants.
  _____________________________________/

  __________________________________________________________________

                             COMPLAINT
  __________________________________________________________________

  COMES NOW Plaintiff, KENNY ORTEGA (hereinafter “Plaintiff” or “Mr. Ortega”) by

  and through his undersigned attorneys, and files this his Original Complaint against the

  Defendants, MIAMI-DADE COUNTY (hereinafter “County”), a political subdivision in

  the State of Florida and JOSEPH DIAZ, (hereinafter “Diaz”) in his individual capacity,

  collectively “Defendants,” and so states:

                 I.    INTRODUCTION/NATURE OF THIS ACTION
       This is an action for damages pursuant to 42 U.S. C. §1983 and Florida state law for

  damages caused by Defendants to Plaintiff during unlawful seizure, detention, arrest,

  confinement, and take-down in Miami-Dade County, FL. Defendant Officer Diaz was

  arrested and charged with official misconduct and battery in Miami-Dade case no.

  F2200506 in his arrest of Mr. Ortega. All charges against Mr. Ortega were dropped. Mi

  ami-Dade County PD has a custom and unwritten policy of, and deliberate indifference
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  to, such constitutional deprivations by its officers.

                    II.    JURISDICTION, VENUE, AND PARTIES

     1. Jurisdiction is properly invoked in this court pursuant to 42 U.S.C.§§ 1983 and

  1988, the Fourth Amendment to the United States Constitution, and tort laws of Florida.

  Jurisdiction is founded on 28 U.S.C. §§ 1331, 1343, 42 U.S.C. § 1983 and under the tort

  laws of Florida. Supplemental jurisdiction for additional state law claims is proper pur-

  suant to 28 U.S.C. § 1367(a) because they form part of the same case or controversy. Plain-

  tiff seeks damages exceeding statutory minimum $75,000, exclusive of costs and interests.

     2. Venue is proper under 28 U.C.S. § 1391(b)(2) because a substantial part of the

  events or omissions accruing these claims occurred in this judicial district and division.

     3.   Plaintiff, KENNY ORTEGA, at all times material hereto has been over the age of

  18 years, a resident of Miami-Dade County, Florida, and otherwise sui juris.

     4. Defendant, MIAMI-DADE COUNTY, (“County”) is the employer of the Miami-

  Dade County Police Department (“MDCPD”) and final decision-maker for policy, hiring,

  retention, and training decision-maker alone or in delegation/conjunction to/with its Di-

  rector of the MDCPD (the title of Director is akin or synonymous to the title of police

  chief in other jurisdictions), who is the chief executive officer of the MDCPD. At all times

  material hereto, Defendant Joseph Diaz was an on-duty sworn law enforcement officer

  employed by the County’s police department acting in the scope of his employment un-

  der color of law. MIAMI-DADE COUNTY is being sued in its official capacity.

     5. Defendant, JOSEPH DIAZ (“Diaz”), was at all times material hereto a duly

  appointed and sworn on-duty law enforcement officer of the MDCPD acting under color

  of law and within the scope of his employment, who violated the constitutional rights of
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  Plaintiff KENNY ORTEGA. JOSEPH DIAZ is being sued in his individual capacity.

     6. Plaintiff has met all conditions precedent to proceed with this action.

                                     III. GENERAL FACTS

     7. At all times material hereto, Officer Diaz was an on-duty sworn police officer ac-

        tively employed by and working for Miami-Dade County’s Police Department

        (“MDCPD”) acting under color of law and within the scope of his employment

        when he encountered Mr. Ortega standing outside in Mr. Ortega’s neighborhood

        and arrested Mr. Ortega on July 25, 2020.

     8. Mr. Ortega had not committed any crime, nor was he charged with any crime.

     9. Without probable or arguable probable cause or reasonable suspicion, Officer Diaz

        approached and detained Mr. Ortega, started engaging Mr. Ortega, and then told

        Mr. Ortega to “put his hands behind his back.” Mr. Ortega had not committed

        any crime nor was there probable cause to arrest Mr. Ortega.

     10. Mr. Ortega responded by asking “what for” because he had not committed any

        crime.

     11. Without provocation, probable or arguable probable cause, reasonable suspicion,

        nor justifiable need for any force, and seeing that Mr. Ortega was not wearing a

        shirt during humid Miami weather, Officer Diaz then grabbed Mr. Ortega by the

        neck, threw Mr. Ortega down to the asphalt and caused Mr. Ortega’s face to hit

        the ground, straddled Mr. Ortega’s back, handcuffed and arrested him.

     12. Officer Diaz injured Mr. Ortega during this shirtless unlawful and unprovoked

        take-down and/or take-down by-the-neck of Mr. Ortega.

     13. Officer Diaz falsified his police report alleging pre-textual and false actions by Mr.
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        Ortega, for which Officer Diaz was criminally charged with official misconduct.

     14. Officer Diaz charged Mr. Ortega with disorderly intoxication and resisting arrest

        without violence.

     15. On or about January 2022, Defendant Officer Joseph Diaz was charged by the Mi-

        ami-Dade State Attorney’s Office with official misconduct and falsifying a police

        report in his arrest of Plaintiff Mr. Kenny Ortega.

     16. All charges against Mr. Ortega were dropped. Case 2020-MM-012424-0001.

                                    IV. CAUSES OF ACTION

                                   COUNT I:
           FOURTH AMENDMENT: FALSE ARREST/FALSE IMPRISONMENT (42
                       U.S.C. §1983): DEFENDANT DIAZ

     17. Plaintiff re-alleges and incorporates paragraphs 1 – 16 as if pled herein.

     18. At all times material hereto, no probable or arguable probable cause or reasonable

        suspicion existed for Diaz’ seizure, arrest, confinement, and/or detention of Mr.

        Ortega.

     19. Diaz knew no probable or arguable probable nor reasonable suspicion existed to

        seize, arrest, confine, and/or detain Mr. Ortega.

     20. Diaz still seized, arrested, confined, and detained Mr. Ortega anyway, without the consent

        of Mr. Ortega for any arrest, seizure, detention, or confinement.

     21. Any objectively reasonable officer would have known that Officer Diaz had no

        lawful right to arrest, detain, seize, and/or confine Mr. Ortega, and even Officer

        Diaz knew his actions were unlawful and unlawful deprivations of Mr. Ortega’s

        clearly established Fourth Amendment rights named herein, which was the reason

        Diaz falsified the police report in furtherance of those deprivations as per the
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        custom and/or unwritten policy of MDCPD to conceal illegal activity and depri-

        vations of the constitutional rights of the citizenry. and here individually, Mr. Or-

        tega.

     22. Officer Diaz was subsequently arrested for his arrest of Mr. Ortega and charged

        with battery and official misconduct. All charges against Mr. Ortega were

        dropped.

     23. Diaz’ actions against Mr. Ortega were unlawful and an unlawful deprivation of

        Mr. Ortega’s clearly established Fourth Amendment right to be free from unlawful

        seizures, arrest, confinement, and/or detention.

     24. As a direct and proximate result of Diaz’ actions, Mr. Ortega suffered wrongful

        incarceration; now has a criminal record for disorderly intoxication and resisting

        arrest although the charges were dropped; lost income/wages; other financial

        loss/expenses, and suffered mental pain and anguish, public embarrassment, hu-

        miliation, loss of reputation, fear of police, inconvenience, loss of opportunity, loss

        of enjoyment, and decreased quality of life.

                Wherefore, Plaintiff seeks trial by jury and entry of an Order for final judg-

        ment against Defendant Diaz for compensatory and punitive damages, attorneys fees,

        costs, and such other relief that this Court deems just and proper.

                                  COUNT II
                FOURTH AMENDMENT: EXCESSIVE FORCE (42 U.S.C. §1983)
                             DEFENDANT DIAZ

     25. Plaintiff re-alleges and incorporates paragraphs 1-16 as if pled herein.

     26. At no time during Diaz’ actions herein against Mr. Ortega herein did any threat of

        imminent or serious bodily harm, or harm, exist to Diaz or any person at the scene.
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     27. At no time did Mr. Ortega resist any lawful arrest or lawful order from Diaz.

     28. At no time did Mr. Ortega resist arrest, any arrest with violence, physically initiate

        contact with Diaz, or perform any gesture or movement causing or provoking the

        need for physical force. Mr. Ortega was shirtless and unarmed. To wit, Diaz charged

        him with resisting without violence.

     29. There was no need for Diaz to use force against Mr. Ortega, and the amount of

        force Diaz used against Mr. Ortega was unlawful, excessive, and more than the

        amount of force needed to detain or arrest Mr. Ortega.

     30. At no time did Mr. Ortega consent to Diaz’ physical contact, use of force, arrest,

        detention, seizure, or confinement of Mr. Ortega.

     31. Diaz’ physical take-down of Mr. Ortega by the neck exceeded any amount of force

        needed to detain and arrest Mr. Ortega, was unjustifiable force, and his seizure,

        detention, arrest, and take-down of Mr. Ortega were unlawful deprivations of Mr.

        Ortega’s clearly established Fourth Amendment right to be from excessive force.

     32. Officer Diaz’ unlawful and unjustifiable deployment of physical force against Mr.

        Ortega caused and resulted in injury to Mr. Ortega when grabbing the visually

        shirtless Mr. Ortega by the neck and slamming him down to the asphalt road on

        his stomach, causing Mr. Ortega’s face to hit the road, and straddling Mr. Ortega

        with the weight and force of Officer Diaz. Mr. Ortega is a small-framed thin man.

     33. Any objectively reasonable officer would have known that Officer Diaz had no

        lawful right to deploy physical force against Mr. Ortega, and even Officer Diaz

        knew his actions were unlawful and unlawful deprivations of Mr. Ortega’s clearly

        established Fourth Amendment right to be free from excessive force.
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     34. Officer Diaz was subsequently arrested and charged with battery of Mr. Ortega.

        All charges against Mr. Ortega were dropped.

     35. At all times material hereto, Mr. Ortega had a clearly established Fourth Amend-

        ment right to be free from excessive force.

     36. As a direct and proximate result of Diaz’ actions, Mr. Ortega suffered lost in-

        come/wages; physical pain and physical injury including back pain, a knot on his

        head, and pain in his teeth due to Diaz causing Mr. Ortega’s head to hit the ground;

        other financial losses/expenses; long-term/still suffers back pain; and suffered

        mental pain and anguish, public embarrassment, humiliation, loss of reputation,

        loss of enjoyment of life, inconvenience, and decreased quality of life.

               Wherefore, Plaintiff seeks trial by jury and entry of an Order for final judg-

        ment against Defendant Diaz for compensatory and punitive damages, attorneys

        fees, costs, and such other relief that this Court deems just and proper.

                                     COUNT III
                       MONELL CLAIM: CIVIL RIGHTS VIOLATIONS
                               MIAMI-DADE COUNTY

     37. Plaintiff re-alleges and incorporates paragraphs 1 – 16 as if pled herein.

     38. This claim is brought pursuant to 42 U.S.C. §1983 for violation of the Fourth

        Amendment to the United States Constitution.

     39. At all times material hereto, Plaintiff Mr. Kenny Ortega had a clearly established

        Fourth Amendment right to be free from unlawful seizures, detention, arrest, con-

        finement, and/or excessive force.

     40. Defendant MIAMI-DADE COUNTY was at all times material hereto the employer

        of its MDCPD and final decision and policy maker for its MDCPD and Miami-
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        Dade County, even when/if delegating its responsibilities to its Director (the title

        of “Director” is synonymous to police chief in other jurisdictions) and/or is the

        successor in interest to Miami-Dade County’s former MDCPD and/or Director.

        The Defendant is a person within the meaning of 42 U.S.C. §1983.

     41. Defendant MIAMI-DADE COUNTY was at all times herein, responsible for the

        policies, procedures, customs and/or practices implemented and utilized, includ-

        ing the supervision, training, discipline, retention, conduct and control over law

        enforcement officers, and employees including Defendant Diaz.

     42. At all times material herein, MIAMI-DADE COUNTY, through its final policy-

        makers in charge of law enforcement officers, and employees, engaged as a matter

        of policy, practice or custom in inadequate training, false arrest and imprisonment,

        excessive force, falsification of police reports, and inadequate supervision, and

        negligent retention of its officers and employees with reckless disregard and de-

        liberate indifference to the rights of the County’s inhabitants with whom the offic-

        ers and employees come into contact, including and specifically, KENNY OR-

        TEGA, and was deliberately indifferent to the need for better training and super-

        vision, and it was highly predictable that its officers and employees engaged

        and/or would engage in false arrest/imprisonment, unlawful seizures and deten-

        tion, excessive force, and falsification of police reports, as occurred with the false

        arrest and violations of the 4th Amendment rights of Plaintiff herein.

     43. The actions of the Defendant, acting under the color of state law, deprived

        KENNY ORTEGA of his rights, privileges and immunities under the laws and

        Constitution of the United States, including but not limited to the right to be secure
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        in his person and property, to be free from unreasonable searches and seizures, to

        be free from being falsely arrested and subjected to false police reports in substan-

        tial furtherance of that false arrest, and to be free from excessive force.

     44. By its actions as set forth herein, Defendant has deprived KENNY ORTEGA of

        rights secured by the Fourth Amendment to the United States Constitution, in vi-

        olation of 42 U.S.C. §1983.

     45. As a direct and proximate result of Defendant’s actions, and omissions, the Plain-

        tiff was deprived of rights, privileges and immunities under the Fourth Amend-

        ment of the United States Constitution and the laws of the State of Florida and

        sustained significant, cognizable and permanent injuries

     46. At all times material to this action, Defendant had policies, customs, practices

        and/or procedures that were the direct and proximate cause of the unconstitu-

        tional unlawful arrest, seizure, detention, confinement, making false reports/rec-

        ords, and excessive force against Plaintiff.

     47. The above-mentioned policies, customs, practices and/or procedures included,

        but are not limited to, the following:

        a. Permitting its officers to unlawfully and illegally seize, detain, arrest, and con-

           fine Plaintiff and citizens without probable or arguable probable cause nor rea-

           sonable suspicion. Defendant has a history of and a policy, practice or custom,

           either written or unwritten, permitting its Officers to illegally and unlawfully

           seize, detain, arrest, and/or confine citizens without probable or arguable
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               probable cause nor reasonable suspicion. 1

           b. Permitting its officers to unlawfully and illegally using physical force and/or

               more physical force than necessary to seize, detain, arrest, and/or confine shirt-

               less unarmed Plaintiff and citizens who are not resisting; passively resisting;

               and if resisting, doing so without violence. To this end, Defendant has a history

               of and a policy, practice or custom, either written or unwritten, permitting its

               officers to unlawfully and illegally use physical force and/or more physical

               force than necessary or justifiable to seize, detain, arrest, and/or confine the

               citizens.

           c. Permitting its officers to unlawfully and illegally touch, grab and/or strike

               Plaintiff and citizens without consent, who are not resisting, or passively re-

               sisting, if resisting at all, and causing physical injury pursuant to an unlawful

               and illegal seizure, detention, arrest, and confinement, To this point, Defendant

               has a history of and a policy, practice or custom, either written or unwritten, of



   1 Examples include but are not limited to: Diaz arrested Mr. Ortega on July 25, 2020. In 2019, four MDCPD
   officers deployed excessive force against an in-nocent bystander and known innocent hostage during a
   police chase of two robbers who had hijacked a UPS driver’s truck. Despite other alternatives, MDCPD
   officers chased the vehicle throughout open public streets spraying gunfire against innocent individuals.
   This chase and shootings were very highly publicized throughout the media. MDCPD’s final decision
   makers were on notice of the constitutional deprivations of excessive force by those officers but continued
   to employ and defend the deprivations by those officers and chose not to train and/or ensure its officers
   were adequately trained nor adequately supervise in/regarding excessive force. Those four officers were
   recently indicted by a grand jury for manslaughter. It was the investigation by the prosecutor in Broward
   County which led to their indictment, not that the County terminated them or sought arrest of the officers;
   the County is openly defending their actions. In 2016, MDCPD Officers Rafael Duran and George Price
   were convicted and pled guilty, respectively, to federal charges of a fraudulent scheme based on them
   falsifying multiple police reports and causing those reports ant those reports were made part of MDCPD’s
   official records. In 2018, MDCPD threw a wheelchair-bound, double-amputee Ms. Mary Brown to the
   ground for alleged trespassing and panhandling $1 in the parking lot of a Chevron gas station, with one of
   the officers caught on body-worn camera stating that he would “roll her out of” the wheelchair if she didn’t’
   get into the police car. MDCPD retained those officers; openly defended them; and instead wrongfully
   issued a blanket statement it would delegate its use-of-force training to a/some unknown disability organ-
   ization after receiving public backlash.
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           permitting its officers to unlawfully and illegally touch, grab, and/or strike the

           citizens and cause physical injury pursuant to an unlawful and illegal seizure,

           detention, arrest, and confinement.

        d. Permitting officers to produce, file and submit false reports misrepresenting,

           manufacturing and/or fabricating events, or evidence during an arrest or in-

           vestigation of Plaintiff and citizens. To this point, Defendant has a history of

           and a policy, practice or custom, either written or unwritten, of permitting of-

           ficers to produce, file and submit false reports misrepresenting, manufacturing

           and/or fabricating events, or evidence during an arrest or investigation of cit-

           izens.

     48. Defendant has failed and has a history of failing to prevent the conduct which

        befell Mr. Ortega, in that there are past and current complaints and cases, to take

        reasonable measures to provide officers and employees with adequate training in

        the proper, valid, and constitutionally mandated procedures and protocols in the

        application of lawful seizure, arrest, detention, and confinement, and lawful and

        true completion of police reports.

     49. Additionally, Defendant failed to provide for adequate appropriate investigation

        and punishment of its officers’ for the unwarranted and unlawful violations of

        citizen’s 4th Amendment rights, particularly of Plaintiff’s herein, and regarding

        the proper application of lawful seizure, arrest, detention, and confinement, and

        lawful and true completion of police reports. Said actions and inactions constitute

        a breach of its duties to train qualified officers, establish departmental procedures

        and methods to enforce protection of constitutional rights, and correct misconduct
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        of its officers of which it had actual or constructive notice. Prior to the violations

        of the 4th Amendment rights Mr. Kenny Ortega sued upon herein, this conduct of

        the Defendant had become a custom, pattern, practice, procedure, decision,

        and/or policy of failing to prevent, and thereafter minimizing the consequences

        of, police misconduct, undertaken with deliberate indifference to the risk it created

        that t Defendant’s officers and employees would unlawfully seize, arrest, detain,

        and confine citizens without probable or arguable probable cause or reasonable

        suspicion in the performance of their police duties, which resulted in directly and

        proximately causing the violations of the constitutional rights of Mr. Kenny Or-

        tega during the unlawful seizure, arrest, detention, and confinement by Diaz.

     50. Defendant also ratified the violations of the Plaintiff’s constitutional rights as de-

        scribed herein by approving and acquiescing to the decisions and the basis of the

        decision of the deputies and detectives involved in the incident and the violations

        of Mr. Ortega’s 4th Amendment rights described herein. To this point, the Defend-

        ant took no disciplinary, investigative or administrative action whatsoever against

        those involved in the trampling of Mr. Ortega’s civil rights, but instead, made pub-

        lic statements supporting the conduct of Diaz and the employees involved, and

        continues to do so. It was actually an investigation by the Miami-Dade State At-

        torney’s Office into three arrests at different police department within the county

        of which Diaz’ arrest was one being investigated, which led to Diaz’ arrest.

     51. Defendant, has, with deliberate indifference, adopted, implemented and/or exe-

        cuted the above policies and/or practices and/or procedures and/or customs

        which were directly responsible for deprivation of the constitutionally protected
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        rights Mr. Kenny Ortega and, in doing so, misused the power possessed by virtue

        of state law and made possible only because Defendant was clothed/cloaked with

        the authority of state law.

     52. As a direct and proximate result of the actions and inactions of Defendant, alleged

        herein, Mr. Kenny Ortega’s constitutional rights were violated by Defendant and

        its employees and/or agents, inter alia, through actions and inactions that culmi-

        nated in permanent injuries and damages to Mr. Kenny Ortega.

     53. Therefore, at all times material hereto the County was on actual or constructive

        notice and/or should have known that its officers were committing excessive

        force, false arrest/false imprisonment, unlawful seizures, and falsification of po-

        lice reports in deprivation of the clearly established constitutional Fourth Amend-

        ment rights of the citizenry and persons it engaged or placed into its custody, and

        here individually and specifically, Mr. Kenny Ortega. Yet, the County’s final de-

        cision-makers took no substantial steps to cause these deprivations to cease, but

        instead chose to turn a blind eye in total disregard to the deprivations by its offic-

        ers and the impact of those deprivations on the citizenry and here specifically and

        individually, Mr. Ortega.

     54. As a direct and proximate result of the County’s deliberate indifference, failure to

        train, failure to supervise/negligent supervision, and negligent retention, Mr. Or-

        tega suffered false arrest, false imprisonment, unlawful and excessive force, un-

        lawful detention and seizure, a criminal record, wrongful incarceration, lost wages

        and income, physical injury and pain, long-term/ongoing back pain, and mental

        pain and anguish, anxiety, fear, inconvenience, loss of opportunity, public
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        humiliation, loss of reputation, and loss of dignity/quality of life.

               Wherefore, Plaintiff seeks trial by jury and entry of an Order for final judg-

        ment against Defendant Miami-Dade County for compensatory damages, attor-

        neys fees, costs, and such other relief that this Court deems just and proper.

                                          STATE CLAIMS

                             COUNT IV: RESPONDEAT SUPERIOR
                             DEFENDANT MIAMI DADE COUNTY

     55. Plaintiff re-alleges and incorporates paragraphs 1 – 16 as if pled herein.

     56. Defendant MIAMI-DADE COUNTY is being sued in its official capacity.

     57. Defendant MIAMI-DADE COUNTY is liable for the wrongful and/or negligent

        acts of its employees working withing the scope of their employment.

     58. At all times material hereto, Defendant Diaz was an on-duty uniformed sworn law

     enforcement officer employed by MIAMI-DADE COUNTY, working within the

     course and scope of his employment and color of law.

     59. At all times material hereto, Defendant Diaz was an on-duty sworn law enforce-

     ment officer employed by Defendant MIAMI-DAD COUNTY and working within the

     course and scope of his employment when committing the acts of false arrest, false

     imprisonment, excessive force, and all other claims asserted herein against Plaintiff.

     60. Pursuant to Fed. R. Civ. P 8(d), in the alternative to the contrary allegations set

     forth in this Complaint, Mr. Ortega alleges that Defendant Diaz did not commit the

     False Arrest/False Imprisonment named and Excessive Force herein in bad faith or

     with malicious purpose, or in a manner exhibiting willful and wanton disregard of

     human rights, safety, or property.
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      61. Defendant MIAMI-DADE COUNTY is therefore liable despite any statutory limi-

   tation it may attempt to assert excluding its liability based on arguments that its Defend-

   ant Odor acted outside his scope of employment.

      Wherefore, Plaintiff seeks entry of an Order for final judgment against Defendant

   MIAMI-DADE COUNTY for compensatory damages, attorney’s fees, costs, and such

   other relief that this Court deems just and proper.

                                      COUNT V: BATTERY
                                       DEFENDANT DIAZ
      62. Plaintiff re-alleges and incorporates paragraphs 1- 16 as if pled herein.

      63. Officer Diaz was charged with battery against Mr. Ortega.

      64. At all times material hereto, Diaz unlawfully and without provocation touched

      and grabbed Mr. Ortega by the neck, threw shirtless Mr. Ortega to the asphalt on Mr.

      Ortega’s stomach, caused Mr. Ortega’s face to hit the road, straddled Mr. Ortega’s

      back, handcuffed and arrested Mr. Ortega while Mr. Ortega was still on the ground

      and Diaz was still on Mr. Ortega’s back, and injured Mr. Ortega’s back, neck, and face,

      with Mr. Ortega still suffering back pain to date from Diaz’ actions.

      65. At no time did Mr. Ortega consent to be seized, grabbed, struck, or touched by

         Diaz, and at all times material hereto Diaz’ seizure, grabbing and/or striking, and

         touching of Mr. Ortega was without Mr. Ortega’s consent, more than incidental,

         intentional, unjustified, unnecessary, not in self-defense, not pursuant to a lawful

         arrest, and unlawful.

      66. Mr. Ortega is a small-framed thin man, and Diaz knew or should have known that

      his actions herein would cause physical injury to Mr. Ortega, and Diaz’ actions did

      physically injure Mr. Ortega.
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      67. All of Diaz’ charges against Mr. Ortega were dropped.

      68. As a direct and proximate result of Diaz’ battery against Mr. Ortega, Mr. Ortega

          suffered immediate and ongoing back pain, neck pain, and pain to his teeth; on-

          going back pain; public humiliation, lost income and wages, mental pain and an-

          guish, loss of dignity, fear of police, inconvenience, and public embarrassment.

          Wherefore, Plaintiff Mr. Ortega seeks trial by jury and entry of an Order for final

      judgment against Defendant Diaz for compensatory and punitive damages, attor-

      neys fees, costs, and such other relief that this Court deems just and proper.

                                                V.
                                      ATTORNEY'S FEES

      65. If Plaintiff prevails in this action, by settlement or otherwise, Plaintiff is entitled

      to and hereby demands attorney’s fees under 42 U.S.C. §1988.

                                                VI.
                                        JURY DEMAND
      66. Plaintiff respectfully requests a jury trial in this matter.

                                   PRAYER FOR RELIEF

          WHEREFORE ALL ABOVE PREMISES CONSIDERED, Plaintiff prays that judg-

   ment be rendered against all Defendants, for an amount in excess of the jurisdictional

   minimum of this Court. Plaintiff further prays for all other relief, both legal and equita-

   ble, to which he may show himself justly entitled.


                                       Respectfully Submitted this 28th day of June 2024


                                                  By: /s/ Rawsi Williams
                                                     Rawsi Williams, Esq. R.N.
                                                      State Bar No. 103201
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